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 Special Litigation and Conflicts Counsel for
 Navillus Tile, Inc. d/b/a Navillus Contracting

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                       : Chapter 11

NAVILLUS TILE, INC., d/b/a NAVILLUS                           : Case No. 17-13162 (shl)
CONTRACTING,

                             Debtor.



NAVILLUS TILE, INC., d/b/a NAVILLUS
CONTRACTING,

                           Plaintiff,
                                                              : Adv. Proc. No. 18-01638 (shl)

             -against-

HUNTER ROBERTS CONSTRUCTION GROUP, LLC, :



                           Defendant.
                                                              X

                                          AFFIDAVIT OF SERVICE

 STATE OF NEW YORK
                                             ss.:
 COUNTY OF NEW YORK )

             Randy J. Schaefer, being duly sworn, deposes and says that:
        I am over 18 years old, am not a party to this action and reside in Huntington Station, New York.
 On September 26, 2018, I served the:

             SUMMONS
 5430126.1
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                                                    Pg 2 of 2


    •   ADVERSARY COMPLAINT
upon the following by regular first class mail by mailing true copies of same in securely sealed, postpaid
envelopes, properly addressed to:

        Defendant:
        Hunter Roberts Construction Group
        55 Water Street, 51St Floor
        New York, New York 10017
        Attention: officer, a managing or general agent

            Defendant's Registered Agent:
            Hunter Roberts Construction Group, LLC
            c/o Corporation Service Company
            80 State Street
            Albany, New York 12207-2543

            Defendant's Attorneys:
            Klehr Harrison Harvey Branzburg LLP
            1835 Market Street
            Philadelphia, PA 19103
            Attention: Gaetano P. Piccirilli, Esq

        I caused said envelopes to be placed in a depository under the care and custody of the United
States Postal Service within the State of New York.



Swo to befate me this
2 th ay of Sppt




            NANCY REGINA
        ry Public, State of New York
           No. 01RE4772222
       Qualified in Bronx County
    Commission Expires Aug. 31,204




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